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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                   NORFOLK DIVISION

DIRECTPACKET RESEARCH, INC.,

                Plaintiff,

         v.                                              Civil Action No. 2:18-cv-00331-AWA-RJK
POLYCOM, INC.,                                           [REDACTED VERSION]
                 Defendant.



      DEFENDANT POLYCOM, INC.’S MEMORANDUM IN SUPPORT OF ITS MOTION
          TO TRANSFER VENUE PURSUANT TO A VALID AND ENFORCEABLE
                         FORUM SELECTION CLAUSE

 I.       INTRODUCTION

          In 2010, defendant Polycom, Inc. (“Polycom”) and directPacket, Inc. (“directPacket

 Inc.”) d/b/a OneVision Solutions entered into a Reseller Agreement (the “U.S. Reseller

 Agreement”) that contractually obligated the parties to bring “[a]ny action or proceeding arising

 from or relating to” the Agreement in the courts of California “and in no other jurisdiction.” (Ex.

 1 at § 12.6.) directPacket Inc. is an alter ego of the plaintiff in this case, directPacket Research

 Inc. (“directPacket Research”). The U.S. Reseller Agreement remains in effect today.

          Instead of selling its products directly to end-users, Polycom distributes its products

 through a network of resellers. The U.S. Reseller Agreement enables directPacket Inc. to sell

 certain Polycom products throughout the U.S., including the same products accused of

 infringement in this case. (Ex. 1 at §§ 1.8, 2.1, Exhibit A.) Polycom also entered into additional

 state-specific Reseller Agreements from 2007-2016 with directPacket Inc. as well as directPacket

 Research similarly authorizing the sale of Polycom products. These Reseller Agreements also

 require the parties to litigate disputes arising from, relating to, or in connection with the

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 Agreements in California. (See Ex. 2 at § 10.8; Ex. 3 at § 10.9; Exs. 4-5 at § 11.8; Exs. 6-7 at §

 15(g)).) As a reseller of the Polycom products accused in this litigation, Plaintiff is complicit in

 and a participant of the very conduct about which it now complains and has been for 9 years.

         Because there is a genuine question of whether Polycom’s alleged infringement is

 authorized in light of the reseller relationship with directPacket Inc., the disputes in this litigation

 indisputably arise from or relate to the U.S. Reseller Agreement. Indeed, the U.S. Reseller

 Agreement and the parties’ conduct thereunder supports or forms the basis of multiple Polycom

 equitable defenses, such as estoppel, acquiescence, laches, and unclean hands in this litigation.

 Because directPacket Inc., and therefore plaintiff directPacket Research, exclusively submitted to

 the jurisdiction of the courts in California in the City and County of San Francisco to resolve

 disputes arising from or relating to the U.S. Reseller Agreement (Ex. 1 at § 12.6), this patent

 infringement litigation should be transferred to the Northern District of California pursuant to 28

 U.S.C. §1404(a). While the Court previously denied Polycom’s motion to transfer for

 convenience and in the interest of justice (see ECF No. 27), the valid and enforceable forum

 selection clause of the U.S. Reseller Agreement controls the analysis under 28 U.S.C. § 1404(a)

 for this Motion.

         Forum selection clauses such as the one contained in the U.S. Reseller Agreement are

 presumptively valid and enforceable. Applicable authority from federal courts in the Fourth and

 Ninth Circuit, as well as relevant authority from the California State Courts concerning the

 interpretation and construction of the U.S. Reseller Agreement confirm that the venue selection

 clause therein is mandatory, broadly construed to encompass patent litigation claims related to

 the Polycom products sold pursuant to its terms, and reasonable. As such, it should be given

 controlling weight in evaluating whether transfer is appropriate.



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         Polycom therefore respectfully requests that the Court give appropriate force to the U.S.

 Reseller Agreement and its forum selection clause by granting the present motion and

 transferring this matter to the Northern District of California.

 II.     BACKGROUND

         From April 19, 2007 to August 17, 2016, the parties entered into no less than eight

 Reseller Agreements with either directPacket Inc. or directPacket Research (both doing business

 as One Vision Solutions), seven of which included a choice of law and venue provisions

 agreeing that any dispute arising under the Reseller Agreements would be governed by the laws

 of the State of California, and any action arising from, relating to, or in connection with the

 Agreements would be brought in the Courts of the Northern District of California. (See Ex. 1 at

 § 12.6; Ex. 2 at § 10.8; Ex. 3 at § 10.9; Exs. 4-5 at § 11.8; Exs. 6-7 at § 15(g)).) The eighth is

 silent as to law and venue. (See Ex. 8.) Each of the Reseller Agreements authorized

 directPacket to sell Polycom products in a specific territory or geographical location. (See Exs.

 2-8.)

         The broadest of these Reseller Agreements is the U.S. Reseller Agreement, which

 authorized directPacket Inc. to sell Polycom products throughout the U.S. (Ex. 1 at Exhibit A.)

 Polycom and directPacket Inc. d/b/a One Vision Solutions entered into the U.S. Reseller

 Agreement on February 1, 2010, which appointed directPacket Inc. as a “non-exclusive Reseller

 of Polycom Products within the [U.S. and DC] Territory solely to end-user customers.” (Ex. 1 at

 § 2.1.) Pursuant to § 1.8 and Exhibit A to the U.S. Reseller Agreement, “Polycom Products”

 includes video, voice, network systems, telepresence, accessories, software, support services, and

 training “products or product families.” (Id. at § 1.8, Exhibit A.)

         The U.S. Reseller Agreement had a one year term that automatically renewed for

 additional one year periods “unless either party notifie[d] the other that it desire[d] to terminate
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 th[e] Agreement not less than sixty (60) days from the end of the Initial Term or any subsequent

 Renewal Term.” (Id. at § 8.1.) The parties further agreed to the following Governing Law and

 Venue provision:

                This Agreement will be governed by the laws of the State of
                California, USA, without giving effect to any choice of law
                principles that would require the application of the laws of a
                different state….Any action or proceeding arising from or relating
                to this Agreement must be brought exclusively in a court of
                competent jurisdiction, federal or state, located within the City and
                County of San Francisco, California, and in no other jurisdiction.
                The parties hereby consent to personal jurisdiction and venue in,
                and agree to service of process issued or authorized by, such court.

 (Id. at 12.6.) To date, the U.S. Reseller Agreement remains in effect. The choice of law and

 venue provisions of the other state-specific Reseller Agreements similarly require the parties to

 bring “all controversies in connection” with the Agreements in California. (See Ex. 1 at § 12.6;

 Ex. 2 at § 10.8; Ex. 3 at § 10.9; Exs. 4-5 at § 11.8; Ex. 6-7 at § 15(g)).)

        Despite the terms of the U.S. Reseller Agreement and directPacket Inc.’s sale and

 continued efforts to sell and support Polycom videoconferencing products, directPacket Inc.’s

 alter ego, directPacket Research, filed the instant action in the Eastern District of Virginia on

 June 21, 2018, alleging infringement of U.S. Patent Nos. 7,773,588 (the “’588 patent”),

 7,710,978 (the “’978 patent”), and 8,560,828 (the “’828 patent”) (collectively, the “Asserted

 Patents”). (ECF No. 1 at ¶¶ 12-14.) In the complaint, directPacket Research accused Polycom’s

 Video Border Proxy and RealPresence Access Director videoconferencing products of

 infringement. directPacket Inc., however, is authorized to and does sell those products under the

 U.S. Reseller Agreement, and both directPacket Inc. and directPacket Research are authorized to

 sell them under the various state-specific Reseller Agreements. (Id. at ¶ 29.)




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 III.   THIS CASE SHOULD BE TRANSFERRED TO THE NORTHERN DISTRICT OF
        CALIFORNIA PURSUANT TO 28 U.S.C. §1404(a) AND THE U.S. RESELLER
        AGREEMENT’S FORUM SELECTION CLAUSE

        Under 28 U.S.C. § 1404(a), “a district court may transfer any civil action to…any district

 or division to which all parties have consented.” 28 U.S.C. §1404(a). Where, as here, the

 parties’ contract contains a valid forum selection clause, that clause “represents the parties’

 agreement as to the most proper forum,” and should be given “controlling weight in all but the

 most exceptional cases” in evaluating a §1404(a) transfer motion. Atl. Marine Const. Co. v. U.S.

 Dist. Ct. for W. Dist. of Tex., 571 U.S. 49, 63 (2013) (“Atlantic Marine”). “As a general matter,

 courts enforce forum selection clauses unless it would be unreasonable to do so.” BAE Sys.

 Tech. Sol. & Servs. v. Republic of Korea’s Def. Acquisition Program Admin., 884 F.3d 463, 470

 (4th Cir. 2018). A forum selection clause may be found unreasonable if:

                (1) [its] formation was induced by fraud or overreaching; (2) the
                complaining party ‘will for all practical purposes be deprived of
                his day in court’ because of the grave inconvenience or unfairness
                of the selected forum; (3) the fundamental unfairness of the chosen
                law may deprive the plaintiff of a remedy; or (4) [its] enforcement
                would contravene a strong public policy of the forum state.

 Albemarle Corp. v. Astrazeneca UK Ltd., 628 F.3d 643, 651 (4th Cir. 2010) (citing Allen v.

 Llyod’s of London, 94 F.3d 923, 928 (4th Cir. 1996) (summarizing relevant reasonableness

 considerations in evaluating forum selection clauses identified in Bremen v. Zapata Off-Shore

 Co., 407 U.S. 1 (1972))).

        The presumption of enforceability and validity applies where a forum selection clause is

 mandatory (i.e., requiring litigation to occur in a specified forum) rather than permissive (i.e.,

 allowing litigation to occur in a specified forum, but not barring litigation elsewhere). Id.

 Although Atlantic Marine never addressed any distinction between “permissive” and

 “mandatory” forum selection clauses, district courts across the country have repeatedly limited


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 the Atlantic Marine framework to situations where the forum selection clause is mandatory. See

 Cream v. Northern Leasing Sys., No. 15-cv-01208, 2015 U.S. Dist. LEXIS 100537, at *12-13 n.2

 (N.D. Cal. July 31, 2015) (citing case law from several federal jurisdictions). Courts in

 California similarly consider whether a forum selection clause is mandatory or permissive in

 determining whether the Atlantic Marine framework applies. See Verdugo v. Alliantgroup, L.P.,

 237 Cal. App. 4th 141, 147 n.2 (2015). A second relevant inquiry regarding the enforceability of

 a forum selection clause is whether the claims of the instant litigation fall within the scope of the

 clause. See, e.g., Varnadore v. Nationwide Mut. Ins. Co., No. 3:13-cv-01777, 2013 U.S. Dist.

 LEXIS 119156, at *11-12 (D.S.C. Aug. 22, 2013).

        The Fourth Circuit has held that “a federal court interpreting a forum selection clause

 must apply federal law in doing so” because where an agreement purports to “modify or waive

 the venue of a federal court, a forum selection clause implicates what is recognized as a

 procedural matter governed by federal law—the proper venue of the court.” Albemarle Corp. v.

 Astrazeneca UK Ltd., 628 F.3d 643, 650 (4th Cir. 2010). Where a forum selection clause

 contains a valid choice of law provision, such as those here governing the Reseller Agreements

 under the laws of the State of California, a court “must honor the forum selection clause ‘as

 construed under the law specified in the agreement’s choice-of-law provision.’” Nitro Elec. Co.

 v. Altivia Petrochemicals, LLC, No. 3:17-cv-2412, 2017 U.S. Dist. LEXIS 210776, at *5-6

 (S.D.W.V. Dec. 22, 2017) (citing Albemarle Corp., 628 F.3d at 650-51). This Court should

 therefore apply California state law in evaluating the U.S. Reseller Agreement and interpreting

 its provisions. The State of California similarly applies the standard set forth in Bremen in

 determining whether forum selection clauses are reasonable and should be enforced, see Indymac

 Mortg., Inc. v. Reyad, 167 F. Supp. 2d 222, 243 (D. Conn. 2001) (citing Smith, Valentino &



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 Smith v. Superior Court, 17 Cal. 3d 491 (1976)), and further requires that the clause maintain

 some “logical connection” with at least one of the parties or their transaction. Verdugo v.

 Alliantgroup, L.P., 237 Cal. App. 4th 141, 147 (2015).

        Here, the parties bargained for and agreed to litigate in California, not only in the U.S.

 Reseller Agreement, but also in multiple state-specific Reseller Agreements confirming their

 intent to litigate disputes related to the products now accused of infringement in California. As

 such, directPacket Research cannot establish that enforcement of the parties’ agreed upon forum

 selection clauses would be unreasonable. See Bremen v. Zapata Off-Shore Co., 407 U.S. 1, 10

 (1972) (plaintiff bears the burden of proving a forum selection clause is unreasonable). The

 Court should, therefore, honor the parties’ bargain and transfer this case to the Northern District

 of California.

        A.        28 U.S.C. §1404(a) is the Proper Vehicle to Enforce the Forum Selection
                  Clause in the U.S. Reseller Agreement

        In Atlantic Marine Construction Co., the Supreme Court confirmed that the appropriate

 way to enforce a forum selection clause pointing to an alternative forum is through the doctrine

 of forum non conveniens, or 28 U.S.C. §1404(a), which codified the concept. 571 U.S. at 60.

 Ordinarily, a court would weigh relevant convenience and public interest factors in evaluating

 whether transfer is appropriate under §1404(a). Id. at 62-63. Indeed, this Court previously

 declined to transfer this matter, finding that the relevant convenience factors did not strongly

 favor transfer. (See ECF No. 27 at 8.)

        The standard convenience calculus changes, however, when the parties’ contract contains

 a valid forum-selection clause, which “requires district courts to adjust their usual §1404(a)

 analysis” in two ways that are relevant to this analysis. Atl. Marine Constr. Co., 571 U.S. at 63.

 First, directPacket Research’s choice of forum, which was entitled to “substantial weight” in the


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 Court’s previous analysis (ECF No. 27 at 6) “merits no weight” in light of the U.S. Reseller

 Agreement’s forum selection clause because directPacket Research already “effectively

 exercised its ‘venue privilege’” when it agreed to and continued to renew the Governing Law

 and Venue provision of the U.S. Reseller Agreement. Atl. Marine Constr. Co., 571 U.S. at 63-

 64. Second, a court evaluating a §1404(a) motion based on a forum selection clause “should not

 consider arguments about the parties’ private interests” because “parties waive the right to

 challenge the preselected forum as inconvenient or less convenient” when they agree to a forum

 selection clause. Id. at 64.

        The Governing Law and Venue provision of the U.S. Reseller Agreement unambiguously

 requires that “any action or proceeding arising from or relating to [the] Agreement must be

 brought exclusively” in a court located in Northern California. (Ex. 1 at § 12.6.) Because, as

 described below, this dispute involves defenses that arise from or relate to the U.S. Reseller

 Agreement, and the respective forum selection clause is mandatory and reasonable, directPacket

 Research was required to bring the instant patent infringement lawsuit in the Northern District of

 California. See 28 U.S.C. §§ 1331, 1338.

        Because there is no time limit on filing a §1404(a) motion to transfer, Polycom is entitled

 to raise the issue at this time. See CIVIX-DDI, LLC v. Loopnet, Inc., No. 2:12-cv-2, 2012 U.S.

 Dist. LEXIS 123821, at *23 (E.D. Va. Aug. 30, 2012) (“there is no time-limit on the filing of a

 motion to transfer”). Further, courts have routinely confirmed that a party need not raise

 §1404(a) concerns in its responsive pleadings or Rule 12 motions and does not waive the ability

 to subsequently file a §1404(a) motion. See, e.g., Ponomarenko v. Shapiro, 287 F. Supp. 3d 816,

 835-36 (N.D. Cal. 2018) (noting Atlantic Marine “explicitly rejects [plaintiff’s] contention that

 [defendant] was required to challenge [plaintiff’s] choice of venue as ‘improper’ in order to



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 enforce the forum selection clause”); GuideOne Elite Ins. Co. v. Mount Carmel Ministries, No.

 120-cv-037, 2018 U.S. Dist. LEXIS 5152, at *3 (S.D. Miss. Jan. 11, 2018; Smith v. Yeager, 234

 F. Supp. 3d 50 (D.D.C. 2017); McGuire v. Waste Management, No. 2:09-cv-2591, 2011 U.S.

 Dist. LEXIS 16552, at *4 (D.S.C. Feb. 18, 2011). Accordingly, Polycom has not waived its

 ability to file this §1404(a) motion.

        Polycom has similarly retained its right and ability to enforce the forum selection clause

 in the U.S. Reseller Agreement. While a party may waive the enforcement of a forum selection

 clause, “such waiver cannot be found lightly.” Kettler Int’l, Inc. v. Starbucks Corp., 55 F. Supp.

 3d 839, 849 (E.D. Va. 2014). “A forum-selection clause…will not be deemed waived unless (1)

 the party invoking the clause has taken action inconsistent with it or has delayed its enforcement,

 and (2) the other party would be prejudiced by its enforcement.” Id. at 849-50.

        Here, Polycom has not acted inconsistently with the forum selection clause by, for

 example, filing suit against directPacket in an unauthorized forum. See id. at 850 (citing

 Wachovia Bank Nat’l Ass’n v. EnCap Golf Holdings, LLC, 690 F. Supp. 2d 311, 327 (S.D.N.Y.

 2010)). Nor has Polycom delayed its enforcement of the forum selection clause in any manner

 that would prejudice directPacket Research. directPacket Research filed the Complaint on June

 21, 2018 and the Court issued its order denying Polycom’s Motion to Dismiss on October 4,

 2018. This case has not progressed significantly in the meantime. The Court issued its first

 scheduling Order on January 15, 2019 (see ECF No. 32), and discovery is in its early stages.

 More specifically, the parties have exchanged discovery requests and provided initial objections

 and responses, but have not yet produced any privilege logs, issued any subpoenas or deposition

 notices, or held or scheduled any depositions. Nor has directPacket Research served its

 infringement contentions or produced any documents. Furthermore, the Markman process has



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 not yet begun – the parties are currently not scheduled to exchange claim terms to be construed

 until July 25, 2019 and the Markman hearing is not scheduled until October 25, 2019. (Id.)

 Thus, based on the progress of this case, there will be no prejudice to directPacket Research and

 little substantive efforts lost if this Court enforced the forum selection clause found in the U.S.

 Reseller Agreement and this litigation were transferred to the Northern District of California.1

        B.      The Forum Selection Clause of the U.S. Reseller Agreement is Applicable to
                Plaintiff directPacket Research, Inc.

        Because the plaintiff in this action, directPacket Research, is an alter ego of directPacket

 Inc., the U.S. Reseller Agreement and the terms of the agreement are applicable to directPacket

 Research. In determining whether one corporation is the alter ego of another, courts in the

 Fourth Circuit consider a number of relevant factors, including (1) overlap in ownership,

 officers, directors, and other personnel, (2) common office space, and (3) failure to observe

 corporate formalities and maintain proper corporate records. See Vitol, S.A. v. Primerose

 Shipping Co., 708 F.3d 527, 544 (4th Cir. 2013). Here, the following evidence shows that

 directPacket Research is an alter ego of directPacket Inc.

        First, from the assignment records of the Asserted Patents,2 it appears that directPacket

 Research changed its name to directPacket Inc. in 2008. (Ex. 9.) Pursuant to the name change,

 directPacket Research assigned the Asserted Patents to directPacket Inc. (Exs. 10-11 (showing

 that applications 11/403,549, 11/403,552, and 11/403,548 were conveyed from directPacket

        1
          While delay in filing a §1404(a) motion is similarly relevant to whether transfer is
 appropriate, see, e.g., Samsung Elecs. Co. v. Rambus Inc., 386 F. Supp. 2d 708, 725 (E.D. Va.
 2005), the early phase of this litigation and lack of prejudice to directPacket Research, combined
 with the controlling weight placed on an enforceable forum selection clause in this §1404(a)
 analysis heavily favor transferring this matter to the Northern District of California.
        2
         The following patents are currently asserted by directPacket Research in this action:
 U.S. Patent Nos. 7,710,978 (Application No. 11/403,549), 7,773,588 (Application No.
 11/403,552), and 8,560,828 (Application No. 11/403,548).

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 Research to directPacket Inc.).) directPacket Inc. signed the U.S. Reseller Agreement with

 Polycom in February 2010 and then assigned the Asserted Patents back to directPacket Research

 on June 7, 2011. (Ex. 11.)3 Despite directPacket Research and directPacket Inc.’s formal

 exchanges regarding the Asserted Patents, Polycom’s interactions with directPacket Research

 and directPacket Inc., as well as myriad sources of publicly available information described

 below, confirm that directPacket Inc. and directPacket Research operate as a single entity.

        Second, directPacket Research and directPacket Inc. share employees and corporate

 officers. For example, various publicly available documents identify Tom Opsahl as the

 president and director of directPacket Research (see Ex. 12, Ex. 13 at 11, Ex. 9 at Article 3 and

 signature page) as well as co-owner, president, and director of directPacket Inc. (See Ex. 14, Ex.

 11 at 3, Ex, 15 at 2, and Ex. 16 (identifying Mr. Opsahl as principal of OneVision Solutions – the

 d/b/a for directPacket Inc.).) Similarly, various sources identify E. M. Riley, who signed the

 Reseller Agreements, as a director and president for directPacket Research (see Ex. 9 at Article

 3, Ex. 11 at 3, and Ex. 13 at 11) and as a director of directPacket Inc. (see Ex. 15 at 2). (See also,

 Ex. 17 (showing that E. M. Riley, a/k/a Ned Riley, is a principal at OneVision Solutions and

 directPacket Research) Tom Opshal and E.M. Riley are two of the named inventors on the

 Asserted Patents and are also identified as directors of Netomd Holdings, Inc. – the parent

 corporation of both directPacket Research and directPacket Inc. (See Exs. 20, 32; ECF No. 1 at

 Exs. A-C; ECF No. 4 (directPacket Research Rule 7.1 Disclosure)).

        Third, directPacket Research and directPacket Inc. have the same address; each is

 associated with 909 Lake Carolyn Parkway, Suite 1800, Irving, Texas 75039. (See ECF No. 1

        3
               directPacket Inc.’s assignment of the Asserted Patents also calls into question
 directPacket Research’s standing to bring this lawsuit alone as the Assignment Agreement lists
 directPacket Research Inc. as desiring to “acquire jointly the entire right, title and interest of
 Assignor and to the Patents.” (Ex. 11 at 3.)

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 (June 21, 2018); Exs. 23, 24, 33, 34.) Netomd Holdings, Inc. shares this same address. (Ex. 21

 at 1, Ex. 32.)

         Fourth, various websites and records show that directPacket Research and directPacket

 Inc. share the same phone line, (972) 714-0540, and fax line, (972) 580-8435 (Compare Ex. 22

 with Ex. 20.)

         Fifth, directPacket Research and directPacket Inc. share the same website –

 www.directpacket.com. A Google search for “direct packet research” and “direct packet inc”

 return different search results that both resolve to the URL www.directpacket.com . (Compare

 Ex. 24 with Ex. 25 (note the search results are not identical).) Moreover, the content of

 directPacket’s website refers to both directPacket Research and directPacket Inc. (See, e.g., Ex.

 18 (discussing directPacket Research in both the header and body of the webpage, but also

 showing that the copyright for the webpage is held by directPacket Inc.) and Ex. 23 (providing

 contact information for directPacket Inc. but also providing the ability to obtain more

 information about directPacket Research and its products).) Additionally, the LinkedIn page for

 directPacket Research links to the website for directPacket Inc.’s d/b/a OneVision Solutions.

 (Ex. 26 (listing the website for directPacket Research as www.onevisionsolutions.com).)

         Sixth, a publicly available article from 2012 reporting federal contracts awarded to

 companies in Texas lists that a federal contract was awarded to “Direct Packet Research dba

 OneVision Solutions, Irving, Texas.” (Ex. 27 at 2.) As described above, OneVision Solutions is

 also identified as directPacket Inc.’s d/b/a. Similarly, government contracts awarded to

 directPacket Research and directPacket Inc. since 2009 show that the two entities are assigned




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 the same Dun & Bradstreet (“DUNS”) number.4 (See, e.g., Exs. 28-30.)5 Additionally, an April

 23, 2018, Contract Purchase Order from Texas Southern University lists Direct Packet Research,

 Inc. and One Vision Solutions together. (Ex. 31.)

        Seventh, directPacket Research, doing business as One Vision Solutions, entered two of

 the Reseller Agreements between the parties and directPacket Inc., also doing business as One

 Vision Solutions, entered six other Reseller Agreements. (Exs. 1-8.) Notably, in every case, it

 was E.M. Riley, director and president for both directPacket Research and directPacket Inc., who

 signed each of the Agreements with Polycom. (Id.)

        The foregoing demonstrates that directPacket Research and directPacket Inc. are alter

 egos. And even if they were not, directPacket Research and directPacket Inc. are sufficiently

 related that directPacket Research is properly subject to the forum selection clause in the U.S.

 Reseller Agreement and any Reseller Agreement either directPacket entity entered. See, e.g.,

 Golden State Orthopaedics, Inc. v. Howmedica Osteonics Corp., No. 14-cv-3073, 2014 U.S.

 Dist. LEXIS 199136 (N.D. Cal. Oct. 31, 2014) (“when the conduct of third parties is closely

 related to the contractual relationship between the signatories to a forum-selection clause, those

 third parties should benefit from and be subject to forum selection clauses”) (citation omitted);

 America Online, Inc. v. Huang, 106 F. Supp. 2d 848, 857 n. 26 (E.D. Va. 2000) (same) (citing




        4
           A DUNS number is a unique nine-digit identifier for businesses. See dun & bradstreet,
 https://www.dnb.com/duns-number.html (last visited Jan. 28, 2019). A DUNS number is used to
 identify government contractors and track how federal money is allocated. See Grants.Gov,
 https://www.grants.gov/applicants/organization-registration/step-1-obtain-duns-number.html
 (last visited Jan. 28, 2019).
        5
          Note that Ex. 28 and Ex. 29 show that directPacket Inc. and directPacket Research were
 also both previously associated with the business address 4545 Fuller Dr. STE 326, Irving, TX
 75038.

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 Frietsch v. Refco, Inc., 56 F.3d 825, 827 (7th Cir. 1995); Net2Phone, Inc. v. Superior Court, 109

 Cal. App. 4th 583, 587-88 (2003) (same).

        C.      directPacket Research Submitted to the Mandatory and Exclusive
                Jurisdiction of California

        The parties here did not merely consider California a permitted forum. directPacket

 expressly agreed to bring any action or proceeding arising from, relating to the U.S. Reseller

 Agreement in California. (Ex. 1 at § 12.6.) Despite this agreement, directPacket Research

 brought this action in the Eastern District of Virginia.

        The plain language of the Governing Law and Venue clause of the U.S. Reseller

 Agreement shows that the parties intended compliance to be mandatory by requiring the parties

 to submit to the jurisdiction of California – specifically, the Northern District of California –

 rather than permissive. See, e.g., BAE Sys., 884 F.3d at 470; Northern Cal. Dist. Council of

 Laborers v. Pittsburgh-Des Moines Steel Co., 69 F.3d 1034 (9th Cir. 1995) (“to be mandatory, a

 clause must contain language that clearly designates a forum as the exclusive one”). Here, for

 example, the Governing Law and Venue clause in the U.S. Reseller Agreement provides that:

                Any action or proceeding arising from or relating to this
                Agreement must be brought exclusively in a court of competent
                jurisdiction, federal or state, located within the City and County of
                San Francisco, California, and in no other jurisdiction.

 (Ex. 1 at § 12.6 (emphasis added).)

        There is no ambiguity as to the meaning or impact of this clause – the terms “any action,”

 “must,” “exclusively,” and “in no other jurisdiction” clearly designate San Francisco, California

 as the only place to litigate this matter. Courts, including those in California and District Courts

 in the Ninth and Fourth Circuits, routinely find similar language mandatory. See, e.g., Northern

 Cal. Dist. Council of Laborers, 69 F.3d at 1037 (reviewing cases finding forum selection clauses

 mandatory where they required disputes to be litigated “only” in one jurisdiction or where venue

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 “shall be deemed to be” in one jurisdiction); Vault, LLC v. Dell Inc., No. 1:18-cv-00633, 2019

 U.S. Dist. LEXIS 1622, at *9 (M.D.N.C. Jan. 4, 2019) (finding forum selection clause requiring

 the parties to “irrevocably submit and consent to the exclusive jurisdiction” of the stated forum

 mandatory); Brady Mktg. Co. v. KAI USA, Ltd., No. 16-cv-02854, 2016 U.S. Dist. LEXIS

 115877, at *10 (N.D. Cal. Aug. 29, 2016) (“[T]o be mandatory [a forum-selection clause] must

 be extremely deliberate in selecting a specific and exclusive venue and in indicating that all

 action[s] must be brought solely in that venue, and no other.”) (citation omitted); Quanta

 Computer Inc. v. Japan Communications Inc., 21 Cal. App. 5th 438 (2018) (parties agreed that

 forum selection clause requiring both parties to “submit all disputes arising out of or in

 connection with th[e] Agreement to the exclusive jurisdiction of the courts in the State of

 California” is mandatory).

        That the Governing Law and Venue provision of the U.S. Reseller Agreement provide for

 state or federal jurisdiction does not alter this analysis or render the clause ambiguous. In Rojas-

 Lozano v. Google, Inc., for example, the District Court of Massachusetts transferred a case to the

 Northern District of California pursuant to a forum selection clause requiring the parties to

 litigate all claims arising out of or relating to an agreement “exclusively in the federal or state

 courts of Santa Clara County, California, USA.” 159 F. Supp. 3d 1101, 1107 (N.D. Cal. 2016);

 see also, e.g., Vault, LLC v. Dell Inc., 2019 U.S. Dist. LEXIS 1622, at *9-10 (forum selection

 clause requiring parties to “irrevocably submit and consent to the exclusive jurisdiction” of a

 federal court, or “if there is no basis for federal jurisdiction, then any claims must be brought” in

 state court is mandatory); Ponomarenko v. Shapiro, 287 F. Supp. 3d 816, 836 (N.D. Cal. 2018);

 (finding forum selection clause directing parties to try and litigate disputes “exclusively in Clark

 County, Nevada State and Federal Courts” mandatory and unambiguous); Torres v. SOF Distrib.



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 Co., No. 3:10-cv-179, 2010 U.S. Dist. LEXIS 47448 (E.D. Va. May 13, 2010) (finding forum

 selection clause directing parties to file suit “only in the federal or state court” mandatory and

 unambiguous). And because the instant dispute concerns patent infringement claims, the federal

 court of the Northern District of California is the proper court of competent jurisdiction. See 28

 U.S.C. §§ 1331, 1338.

        Because the Governing Law and Venue provision in the U.S. Reseller Agreement is

 mandatory, Atlantic Marine applies, and the clause should be given “controlling weight” in

 evaluating the instant motion. Atl. Marine Const. Co. v. U.S. Dist. Ct. for W. Dist. of Tex., 571

 U.S. 49, 63 (2013).

        D.      This Matter Falls Within the Scope of the U.S. Reseller Agreement

        directPacket also cannot reasonably dispute that the issues raised in this litigation arise

 from or relate to the U.S. Reseller Agreement, and thus fall within the scope of the forum

 selection clause.

        “When two sophisticated, commercial entities agree to a choice-of-law [or choice-of-

 forum] provision…the most reasonable interpretation of their actions is that they intended for the

 clause to apply to all causes of action arising from or related to their contract.” Cal-State

 Business Prods. & Services, Inc. v. Ricoh, 12 Cal. App. 4th 1666, 1676 (1993) (holding

 expansive interpretation of choice of law provisions should be afforded to “closely related”

 choice of forum provisions). Where the parties do not agree to any exceptions to such

 provisions, it is reasonable to conclude that “arising from or related to” language applies not only

 to disputes concerning the contract itself, but also to “any cause of action based on the

 relationship created by the contract.” Id. (citing Nedlloyd Lines B.V. v. Superior Court, 3 Cal.

 App. 4th 459, 468-69 (1992)). By agreeing to bring any action or proceeding “arising from or

 relating to th[e U.S. Reseller] Agreement” in Northern California and agreeing that California
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 law governs interpretation of the Agreement, directPacket Research confirmed that the present

 patent dispute concerning Polycom products directPacket Research sold and continues to sell to

 end-users under the terms of the Reseller Agreements must be brought in the courts of

 California. Moreover, directPacket Research expressly agreed to seven similar broad forum

 selection clauses in state specific reseller agreements between the parties. (See Ex. 2 at § 10.8;

 Ex. 3 at § 10.9; Exs. 4-5 at § 11.8; Ex. 6-7 at § 15(g)).)

        Federal courts also confirm that while disputes “arising out of” a particular agreement

 “apply only to disputes relating to the interpretation and performance of the contract itself,”

 forum selection clauses also covering disputes “relating to” a particular agreement “apply to any

 disputes that reference the agreement or have some logical or causal connection to the

 agreement.” Sun v. Adv. China Healthcare, Inc., 901 F.3d 1081, 1086 (9th Cir. 2018) (citation

 omitted); see also Bartles v. Saber Healthcare Grp., LLC, 880 F.3d 668, 678 (4th Cir. 2018)

 (“‘in connection with’ language broadens the scope of the clause beyond pure contract claims

 and extends it to every dispute between the parties having a significant relationship to the

 contract regardless of the label attached to the dispute”) (citation omitted).

        This litigation is related and maintains a logical connection to the U.S. Reseller

 Agreement because the Agreement forms the basis of a number of Polycom’s affirmative

 equitable defenses. (ECF No. 28.) With respect to Polycom’s waiver defense, for example,

 Polycom must demonstrate “by clear and convincing evidence that [the patentee’s] conduct was

 so inconsistent with an intent to enforce its rights as to induce a reasonable belief that such right

 has been relinquished.” Hynix Semiconductor Inc. v. Rambus, Inc., 645 F.3d 1336, 1348 (Fed.

 Cir. 2011) (citing Qualcomm, Inc. v. Broadcom Corp., 548 F.3d 1004, 1020 (Fed. Cir. 2008)).




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        Here, the instant litigation is wholly inconsistent with directPacket’s conduct under the

 U.S. Reseller Agreement, which requires and encourages directPacket’s use, promotion, and

 service of the allegedly infringing Polycom products. More specifically, the U.S. Reseller

 Agreement requires that directPacket (1) “undertake various marketing and market development

 activities in order to promote the sales of the Polycom Products,” (2) “maintain a staff of sales

 and technical support personnel sufficient to meet the sales and technical questions of its end-

 user customers” using the Polycom products, and (3) “ensure that [sales and technical support

 personnel] are properly trained [i.e., know how to and likely have used] the Polycom Products,”

 including those that directPacket Research now accuses of infringing. (Ex. 1 at §§ 6.3.1, 6.3.2.)

        In the context of its bargained-for conduct under the U.S. Reseller Agreement,

 directPacket led Polycom to reasonably infer that because it used and understood Polycom’s

 products, it consented to Polycom’s alleged infringement of the Asserted Patents. Thus,

 directPacket waived its right to enforce the Asserted Patents against Polycom. Given this

 relationship between the parties, Polycom is similarly entitled to a finding that directPacket

 consented or acquiesced to Polycom’s allegedly infringing conduct and further, has unclean

 hands precluding its assertion of those patents given its role with respect to the accused products.

 Moreover, because the activity condoned under the Reseller Agreement is so inherently

 connected to Polycom’s accused products, directPacket knew or should have known of

 Polycom’s allegedly infringing activities giving rise to its claims at least eight years before filing

 the complaint on June 21, 2018. (See ECF No. 28.) This delay further supports a host of

 equitable defenses, including laches, estoppel, acquiescence and implied license, for instance.

        Cases decided in this District, VS Technologies., LLC v. Twitter, Inc., and Centripetal

 Networks, Inc. v. Keysign Technologies., Inc., wherein this Court found that the forum selection



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 clause between the parties in each case did not govern patent infringement disputes, do not

 compel a different result. See VS Technologies., LLC v. Twitter, Inc., No. 2:11-cv-43, 2011 U.S.

 Dist. LEXIS 157536 (E.D. Va. June 28, 2011); Centripetal Networks, Inc. v. Keysign

 Technologies., Inc., No. 2:17-cv-383, ECF No. 55 (E.D.Va. Nov. 15, 2017) (attached as Ex. 35).

 In VS Technologies, this Court found that the forum selection clause in an agreement between the

 parties did not extend to the plaintiff’s infringement claim because the agreement at issue

 concerned only the plaintiff’s agreement to abide by Twitter’s Terms and Services to use the

 social networking site. 2011 U.S. Dist. LEXIS 157536 at *14-16. The Court explained that the

 forum selection clause did not contemplate cases brought in federal courts and further

 commented that enforcing a forum selection clause to which every user of a social media site

 agrees would establish precedent that would “foster satellite litigation in every patent case

 involving a social networking market participant.” Id. at *16-17.

        In Centripetal Networks, this Court followed VS Technologies in finding a forum

 selection clause contained in an NDA between the parties did not control in a patent

 infringement case given the subject matter of the agreement. 2:17-cv-383, ECF No. 55 at 8-9.

 Here, by contrast and as described above, the U.S. Reseller Agreement necessarily relates to the

 instant dispute because the Agreement authorizes directPacket’s sale, promotion and support of

 the very products it now accuses of infringement and provides a substantive basis for Polycom

 affirmative defenses.6

        Where, as here, enforcement of a contract provision is a defense to a claim and sets forth

 a non-frivolous dispute concerning the terms of an agreement (i.e., more than a “bare

        6
         While directPacket has accused network components supplied by Polycom of
 infringement, many of the claims of the Asserted Patents cover specific network configurations.
 As a Polycom reseller, directPacket is the one that encourages end users to assemble Polycom’s
 network components into configurations purportedly covered by directPacket’s patents.

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 allegation”), the Federal Circuit has found that there is no question that the dispute relates to or

 arises out of the agreement. See Gen. Protecht Grp., Inc. v. Leviton Mfg. Co., 651 F.3d 1355,

 13579 (Fed. Cir. 2011). Because the language of the Governing Law and Venue provision of the

 U.S. Reseller Agreement broadly encompasses disputes “arising from or relating to” the same,

 and because the Agreement forms the basis of a number of Polycom’s affirmative equitable

 defenses, this matter is properly within the scope of Polycom and directPacket’s Agreement.

        E.      The Forum Selection Clause is Reasonable

        A forum selection clause is presumptively valid and enforceable, unless enforcement is

 shown by the resisting party (i.e., directPacket Research) to be “unreasonable’ under the

 circumstances.” Bremen, 407 U.S. at 10. directPacket Research cannot demonstrate that

 enforcing the parties’ agreed-upon forum selection clause is unreasonable, induced by fraud,

 fundamentally unfair, or in contravention of public policy. See Albemarle Corp. v. Astrazeneca

 UK Ltd., 628 F.3d 643, 651 (4th Cir. 2010) (identifying and summarizing relevant Bremen

 reasonableness factors).

        No evidence or facts exist to suggest that the Governing Law and Venue provision of the

 U.S. Reseller Agreement was induced by fraud or overreaching. Courts routinely find forum

 selection clauses negotiated by sophisticated parties such as Polycom and directPacket Research

 during arms-length negotiations reasonable. Allred v. Innova Emergency Med. Assocs., P.C.,

 No. 18-cv-03633, 2018 U.S. Dist. LEXIS 169527, at *13 (N.D. Cal. Oct. 1, 2018) (such clauses

 are “presumptively valid”) (quoting Plum Creek Wastewater Auth. v. Aqua-Aerobic Sys., 597 F.

 Supp. 2d 1228, 1230 (D. Colo. 2009); see also Coastal Mechs. Co. v. Def. Acquisition Program

 Admin., 79 F. Supp. 3d 606 (E.D. Va. 2015) (finding forum selection clause reasonable where

 “both parties are sophisticated business entities”). To the extent directPacket Research asserts

 the forum selection clause of the U.S. Reseller Agreement is unreasonable because it is based on
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 fraud, it would need to, and cannot, establish that the “inclusion of the forum-selection clause

 itself was the product of fraud or coercion,” particularly where directPacket agreed to similar

 choice of law and choice of venue provisions in seven separate state Reseller Agreements

 between the parties. Zaklit v. Global Linguist Solutions, LLC, No. 1:14-cv-314, 2014 U.S. Dist.

 LEXIS 92623, at *25 (E.D. Va. July 8, 2014) (emphasis in original).

        Transferring this matter to the Northern District of California also will not deprive

 directPacket Research of its day in court; there is no reason that the Northern District of

 California is not adequately equipped to hear directPacket Research’s claims. In fact, this Court

 already found both that California’s Northern District is a proper forum and that litigating this

 case in California would be more convenient for Polycom, and the difference between litigating

 in the Northern District of California and this Court is negligible for directPacket Research.

 (ECF No. 27 at 7-8.) Similarly, it will not be “fundamentally unfair” to directPacket Research to

 apply California law in construing and evaluating the forum selection clause. As noted above,

 courts in the Fourth Circuit have already held that they “must honor the forum selection clause

 ‘as construed under the law specified in the agreement’s choice-of-law provision’” – i.e., under

 California’s state law. Nitro Elec. Co., 2017 U.S. Dist. LEXIS 210776, at *5-6 (citing Albemarle

 Corp., 628 F.3d at 650-51). directPacket Research cannot establish that application of this law

 will deprive it of any remedy in this action.

        Enforcing the forum selection clause also would not contravene any public policy in the

 chosen forum of California. Indeed, “California favors contractual forum selection clauses so

 long as they are entered into freely and voluntarily.” Verdugo, 237 Cal. App. 4th at 146.

 Nothing in the U.S. Reseller Agreement would “substantially diminish the rights of California

 residents in a way that violates [its] public policy,” and it is directPacket Research’s “substantial



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 burden” – which it cannot carry – to prove that the forum selection clause should not be

 enforced. Id. at 147.

        Finally, the governing law and venue clause is reasonable in directing the parties to

 litigate in the Northern District of California because Polycom is headquartered there and is

 “logically connected” to the agreed upon forum. See id. at 147 (ECF No. 27 at 1.)

        Thus, Polycom is entitled to a finding that the forum selection clause contained in the

 U.S. Reseller Agreement and those found in multiple state reseller agreements between the

 parties are enforceable and reasonable.

 IV.    CONCLUSION

        For the foregoing reasons, this case should be transferred to the Northern District of

 California.


 Date: February 15, 2019                      Respectfully submitted,

                                              ___/s/___________________________
                                              William R. Poynter (VSB No. 48672)
                                              Kaleo Legal
                                              4456 Corporation Lane, Suite 135
                                              Virginia Beach, VA 23462
                                              757.238.6383
                                              757.304.6175 (facsimile)
                                              wpoynter@kaleolegal.com

                                              Goutam Patnaik (pro hac vice)
                                              Tuhin Ganguly (pro hac vice)
                                              Ryan H. Ellis
                                              Pepper Hamilton LLP
                                              Hamilton Square
                                              600 Fourteenth Street, N.W.
                                              Washington, DC 20005-2004
                                              202.220.1200
                                              202.220.1665 (facsimile)
                                              patnaikg@pepperlaw.com
                                              gangulyt@pepperlaw.com
                                              ellisr@pepperlaw.com


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                                    Suparna Datta (pro hac vice)
                                    Brittanee L. Friedman (pro hac vice)
                                    Pepper Hamilton LLP
                                    19th Floor, High Street Tower
                                    125 High Street
                                    Boston, MA 02110-2736
                                    617.204.5100
                                    617.204.5150 (facsimile)
                                    dattas@pepperlaw.com
                                    friedmbr@pepperlaw.com

                                    William E. Devitt (pro hac vice)
                                    John A. Marlott (pro hac vice)
                                    Rita J. Yoon (pro hac vice)
                                    Jones Day
                                    77 West Wacker Drive
                                    Chicago, IL 60601
                                    312.782.3939
                                    312.782.8585 (facsimile)
                                    wdevitt@jonesday.com
                                    jamarlott@jonesday.com
                                    ryoon@jonesday.com

                                    Yury Kalish (VSB No. 87680)
                                    Jones Day
                                    51 Louisiana Avenue, N.W.
                                    Washington, D.C. 20001
                                    202.879.3939
                                    202.626.1700
                                    ykalish@jonesday.com

                                    Counsel for Defendant Polycom, Inc.




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                               CERTIFICATE OF SERVICE

 I hereby certify that on this 15th day of February 2019, I caused the foregoing document to be
 electronically filed with the Clerk of Court using the CM/ECF system, which will then send a
 notification of such filing (NEF) to the following registered counsel for Plaintiff:

                                     Terence P. Ross
                                     Christopher B. Ferenc
                                     Sean Scott Wooden
                                     KATTEN MUCHIN ROSENMAN LLP
                                     2900 K Street, N.W.
                                     Suite 200
                                     Washington, D.C. 20007
                                     Telephone: (202) 625-3500
                                     Fax: (202) 298-7570
                                     terence.ross@kattenlaw.com
                                     christopher.ferenc@kattenlaw.com
                                     sean.wooden@kattenlaw.com

                                     Yashas Kedar Honasoge
                                     KATTEN MUCHIN ROSENMAN LLP
                                     525 W Monroe St, Suite 1600
                                     Chicago, IL 60661-3693
                                     Telephone: (312) 902-5200
                                     Fax: (312) 902-1061
                                     yashas.honasoge@kattenlaw.com

                                     Stephen Edward Noona
                                     KAUFMAN & CANOLES, P.C.
                                     150 W. Main St.
                                     Suite 2100
                                     Norfolk, VA 23510
                                     Telephone: (757) 624-3239
                                     Fax: (888) 360-9092
                                     senoona@kaufcan.com


                                                          /s/

                                              William R. Poynter (VSB No. 48672)
                                              Kaleo Legal
                                              4456 Corporation Lane, Suite 135
                                              Virginia Beach, VA 23462
                                              757.238.6383
                                              757.304.6175 (facsimile)
                                              wpoynter@kaleolegal.com


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